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                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF PUERTO RICO


 ANGELICA M. GONZÁLEZ BERRIOS,

                                            CIVIL NO. 18-1146 (RAM)
          Plaintiff,

              v.

 MENNONITE GENERAL HOSPITAL,
 INC., et al.,


          Defendants



                            ORDER TO SHOW CAUSE

     On    March   11,   2020,    this   Court   dismissed   with   prejudice

Plaintiff Angélica M. González-Berrios claims against Mennonite

General Hospital, Inc.           See Docket No. 186.         That dismissal

included    Plaintiff     González-Berrios’      claims   under   EMTALA,   42

U.S.C. § 1395dd.       The EMTALA claims were the claims over which the

Court had original jurisdiction pursuant to 28 U.S.C. § 1332.               See

Docket No. 4 at paragraph 12.

     Because Federal Courts are courts of limited jurisdiction,

this Court has “a responsibility to police the border of federal

jurisdiction.” Spielman v. Genzyme Corp., 251 F.3d. 1, 4 (1st Cir.

2001).     Accordingly, Plaintiff is granted a term of 14-days from
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today to show cause why this case should not be dismissed for lack

of subject matter jurisdiction.

     If Plaintiff’s contention is that the Court has supplemental

jurisdiction over the remaining claims including the Third-Party

Complaint against Triple-S Propiedad, Inc. pursuant to 28 U.S.C.§

1367(a), then Plaintiff shall show cause why the Court should not

decline to exercise such jurisdiction under 28 U.S.C.§ 1367(c).

     Defendant     Triple-S   Propiedad,    Inc.   shall    respond   to

Plaintiff’s motion showing cause within 14-days of service.

     IT IS SO ORDERED.

     In San Juan, Puerto Rico, this 11th day of March 2020.

                                 s/ RAÚL M. ARIAS-MARXUACH
                                 United States District Judge
